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                         IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                IN AND FOR PINELLAS COUNTY, FLORIDA
                                            CIVIL DIVISION

        DONNA M. HUGHEY, and
        CHRISTOPHER HUGHEY,

                 Plaintiffs,

        vs.                                                    `Case No.:      21-CA-004877

        WAL-MART STORES EAST, LP,

              Defendant.
        ___________________________________/

                         DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES

                 Defendant, WAL-MART STORES EAST, by and through its undersigned counsel, hereby

        responds to Plaintiff’s Complaint and states:

                 1.      Admit for jurisdictional purposes only, otherwise denied. However to the extent the

        amount in controversy exceeds $75,000 the proper jurisdiction for this matter is in the United

        States District Court for the Middle District of Florida, Tampa Division.

                 2.      Denied.

                 3.      Walmart Stores East LP admits to owning the subject location, otherwise denied.

                 4.      Admit.

                 5.      Admit that Walmart employees do utilize shopping carts for some activity in the

        store.

                 6.      Admit.

                 7.      Admit that at one point the Plaintiff was standing at the rear of her shopping cart.

                 8.      Denied.

                 9.      Walmart Stores East LP admits that Florida law imposes vicarious liability on

        employers for the alleged negligence of employees acting within the course and scope of their
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employment. Walmart Stores East LP denies any and all allegations of negligence against its

employees.

                                         COUNT I
                 (Plaintiff, DONNA HUGHEY’s, Negligence Claim against Defendant)

           10.     Walmart Stores East LP responds to paragraphs 1-9 as set forth above.

           11.     Denied.

           12.     Denied.

           13.     Denied.

                                          COUNT II
                 (Plaintiff, DONNA HUGHEY’s, Negligent Mode of Operation Claim
                                      against Defendant)

           14.     Please see Motion to Dismiss.

                                       COUNT III
                   (PLAINTIFF, DONNA HUGHEY’S, Negligent Training Claim
                                  against DEFENDANT)

           26.     Walmart Stores East LP responds to paragraphs 1-25 as set forth above.

           27.     Denied.

           28.     Denied.

           29.     Denied.

                                            COUNT IV
                             (PLAINTIFF, CHRISTOPHER HUGHEY’S,
                               Consortium Claim against DEFENDANT)

           30.     Walmart Stores East LP responds to paragraphs 1-29 as set forth above.

           31.     Denied.

                                   DEMAND FOR JURY TRIAL

           WAL-MART STORES EAST, LP hereby demands a jury trial as to any and all issues so

triable.



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                                     AFFIRMATIVE DEFENSES

                                   FIRST AFFIRMATIVE DEFENSE

          Defendant hereby gives notice that it intends to introduce all applicable collateral source

payments to Plaintiff for the purpose of reducing or eliminating the damages claimed by Plaintiff

herein.

                               SECOND AFFIRMATIVE DEFENSE

          The damages and injuries of Plaintiff, if any, were proximately caused by other persons or

entities over whose activities this Defendant had no control. Therefore this Defendant is not liable

to Plaintiff.

                                   THIRD AFFIRMATIVE DEFENSE

          Defendant is entitled to the protections of F.S. §768.81, comparative fault, and asserts all

rights, remedies and limitations to which it is entitled under said Statute. Plaintiff’s negligence was

the sole proximate cause or a contributing legal cause of the incident and her injuries and damages,

if any, and Plaintiff is therefore precluded from recovery herein or her recovery should be

diminished to the extent that Plaintiff’s negligence contributed to the subject accident.

                               FOURTH AFFIRMATIVE DEFENSE

          Defendant asserts its entitlement to a setoff for any sums paid by any other Defendants or

any other joint tort-feasor as payment or settlement in this cause.

                                   FIFTH AFFIRMATIVE DEFENSE

          The danger complained of in the Complaint was an open and obvious condition which was

readily apparent to Plaintiff or any other person on the property and was known, foreseeable and

readily detectible to Plaintiff.




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                               SIXTH AFFIRMATIVE DEFENSE

         Defendant regularly and adequately inspected the subject premises for any defects, perils,

traps, or other dangerous conditions. Any alleged dangerous condition on Defendant’s property

did not exist for a sufficient length of time so that Defendant had either actual or constructive

knowledge of the alleged dangerous condition.

                             SEVENTH AFFIRMATIVE DEFENSE

         Plaintiff knew of the existence of the danger complained of in the Complaint, realized and

appreciated the possibility of the injury as a result of the danger, and having a reasonable

opportunity to avoid said danger, voluntarily exposed herself to the alleged danger.

                              EIGHTH AFFIRMATIVE DEFENSE

         Plaintiff’s Medical Expenses should be reduced or eliminated due to the fact that Plaintiff

failed to mitigate her damages by entering into an agreement with her medical providers to receive

care and treatment pursuant to a “letter of protection” in lieu of submitting the charges to her

private health insurance company as was required pursuant to Florida Statute sections 641.17-

.3923.

                               NINTH AFFIRMATIVE DEFENSE

         The collateral source rule is no longer applicable, because the Patient Protection and

Affordable Care Act mandates that all persons obtain health insurance. Therefore, evidence

relating to collateral source benefits received in the past and available in the future to Plaintiff’s

statutory survivors is admissible and such collateral source benefits shall offset and reduce any

past or future economic damages awarded.




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                               TENTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff fails to comply with the mandate of the Patient Protection and

Affordable Care Act to obtain health insurance, Plaintiff has failed to mitigate her damages and

Plaintiff’s recovery must be reduced by the amount attributable to such failure.

                          ELEVENTH AFFIRMATIVE DEFENSE

       Defendant conducted regular, reasonable inspections of the premises for any potentially

dangerous conditions that existed on the premises and did not discover any potentially dangerous

condition during their regular inspections, therefore the alleged dangerous condition did not exist

for a sufficient length of time in order to put Defendant on actual or constructive notice of the

alleged dangerous condition.

                           TWELFTH AFFIRMATIVE DEFENSE

       Plaintiff’s Medical expenses are unreasonable when compared to the charges in the

relevant medical community and should therefore be reduced or eliminated.

                         THIRTEENTH AFFIRMATIVE DEFENSE

       The condition complained of in Plaintiff’s Complaint was so open and obvious that it did

not create a dangerous condition as a matter of law.

                                             /s/ Andrew S. Bolin, Esq., BCS
                                             Andrew S. Bolin, Esquire, BCS
                                             Florida Bar No. 0569097
                                             Christie Alisca, Esquire
                                             Florida Bar No. 124020
                                             Bolin Law Group
                                             1905 E. 7th Avenue
                                             Tampa, FL 33605
                                             T: (813) 848-0600; F: (813) 848-0090
                                             jec@bolin-law.com
                                             amc@bolin-law.com
                                             scr@bolin-law.com
                                             Attorneys for Defendant




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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via

the Florida Court’s E-Portal to: E. Patton Youngblood, Esq. at patton@youngbloodlaw.com and

sean@youngbloodlaw.com on this 18th day of November 2021.

                                         /s/ Andrew S. Bolin, Esq., BCS
                                         Andrew S. Bolin, Esquire, BCS




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